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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


  ELLIOT N. WILLIAMS,                           )
                                                )
                 Plaintiff,                     )    CIVIL ACTION
                                                )    FILE NO. 2:20-CV-00277
  versus                                        )
                                                )
                                                )    JUDGE JAMES D. CAIN, JR.
  MCDERMOTT INTERNATIONAL,
  INC. AND CB&I, LLC,                           )
                                                )    MAGISTRATE JUDGE KATHLEEN KAY
                 Defendant.                     )
                                                )

                      REPLY MEMORANDUM IN SUPPORT OF
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Defendants, CB&I LLC and McDermott International, Ltd (“Defendants”), by and through

 undersigned counsel, submit this Reply Memorandum in response to Plaintiff’s Opposition and in

 further support of their Motion for Summary Judgment.

 I.     OVERVIEW

        Plaintiff’s Opposition spends considerable time bombarding the Court with a litany of

 reasons why this case is unique and distinguishable from each and every case cited by Defendants

 in their Motion for Summary Judgment. Such efforts are an apparent attempt to overwhelm this

 Court and lead it to conclude that must be a fact issue somewhere in all the argument. When

 examined closely, however, Plaintiff’s allegations and unsupported accusations do not detract from

 his own admissions and the undisputed facts in this case. Specifically, Plaintiff admits that,

 immediately after he old his new Foreman, James Dever, and Human Resources (“HR”) about his

 coworker’s alleged harassment toward him, Defendants took swift and effective action to stop that

 alleged harassment. By his own admission, Plaintiff never reported the supposed racial harassment
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 to his former Foreman, Paul Williams, and once he did report it to Dever and HR, the harassment

 stopped.

        Moreover, despite Plaintiff’s claims to the contrary, as a matter of law, Williams’ alleged

 physical presence during some of Vincent’s racial remarks and jokes, standing alone, does not

 create an issue of fact preventing summary judgment nor does it establish a basis for holding

 Defendants liable. Additionally, Plaintiff’s Opposition misrepresents Plaintiff’s testimony

 regarding Williams’ supposed retaliatory actions. There is simply no evidence establishing that

 Plaintiff complained about Williams’ so-called retaliatory actions at any time before Plaintiff’s

 resigned his employment. Finally, Plaintiff’s constructive discharge claim is also fatally flawed

 because Plaintiff fails to demonstrate intolerable working conditions. Indeed, no such evidence

 exists. Consequently, Defendants’ Motion is due to be granted.

 II.    LAW AND ARGUMENT

        A. The EEOC’s Determination Is Not Dispositive

        Plaintiff attempts to avoid summary judgment by relying on the EEOC’s cause

 determination to support his claims in this action. (R. Doc. 25-2, p. 12). He further claims that a

 reasonable cause finding by the EEOC is a rarity and suggests it, therefore, should “provide

 persuasive proof that… Plaintiff was subjected to unlawful discrimination. ” (R. Doc. 25-2, p. 12,

 fn. 3). Repeated Fifth Circuit holdings, however, expressly reject this suggestion and make

 abundantly clear that district courts are not bound by the EEOC’s determinations, nor are such

 determinations sufficient to defeat summary judgment where summary judgment evidence does

 not support the EEOC’s determination. Cruz v. Aramark Servs., Inc., 213 F. App’x. 329, 335 (5th

 Cir. 2007); see also Wright v. Columbia Women & Children’s Hosp., 34 F. App’x. 151 (5th Cir.

 2002) (affirming summary judgment against the employee despite an EEOC determination letter

 finding reasonable cause to believe the employer unlawfully discriminated, because the letter was

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 conclusory and not supported by the summary judgment evidence). Here, the EEOC’s August 21,

 2019 determination letter contains only the broadest legal and factual conclusions, does not

 identify the evidence used by the EEOC in making the decision, and provides no information

 regarding the scope of its investigation. (R. Doc. 28-11). The EEOC’s conclusory opinion,

 unsupported by the evidence in the summary judgment record, cannot defeat Defendants’ summary

 judgment motion .

        B. Plaintiff’s Harassment Claim Fails as a Matter of Law.

        Plaintiff’s own admissions and established case law foreclose his claim that Foreman

 Williams’ supposed presence during Vincent’s racially harassing remarks was sufficient to put

 Defendants on notice of the alleged violation.

                1.   No Admissible Evidence Establishes Williams’ Supposed Knowledge

        Plaintiff readily admitted in his deposition that he never reported Vincent’s alleged

 harassment to Williams. (R. Doc. 23-3, pp. 45-46). Rather, he attempts to attribute “constructive

 knowledge” to the company simply because Williams “was present and witnessed Vincent make

 these repeated egregiously racial remarks in almost every morning meeting and took no remedial

 action.” (R. Doc. 28, p. 29). Plaintiff, however, has no personal knowledge about what Williams

 witnessed, heard, or knew in this regard. Instead, he bases his entire “constructive knowledge”

 argument on speculation and conclusory assertions about what he thinks Williams’ saw, heard, or

 knew, which necessarily fail. Summary judgement is appropriate when the nonmoving party “rests

 upon conclusory allegations, improbable inferences, and unsupported speculation. Hockman v.

 Westward Communications, LLC, 407 F. 3d 317, 332 (5th Cir. 2004) (summary judgment is

 appropriate where the nonmoving party “rests merely upon conclusory allegations, improbable

 inferences, and unsupported speculation”). Williams’ mere presence, without more, does not

 establish constructive knowledge of the alleged harassment.

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        Moreover, without personal knowledge about what Williams witnessed, heard, or knew,

 Plaintiff’s testimony is inadmissible. Evidence relied upon at the summary judgment stage need

 not be presented in an admissible form, but it must be capable of being “presented in a form that

 would be admissible in evidence.” LSR Consulting, LLC v. Wells Fargo Bank, N.A., 835 F.3d 530,

 534 (5th Cir. 2016) (quoting Fed. R. Civ. P. 56(c)(2)); see also Broadway v. City of Montgomery,

 Ala., 530 F.2d 657, 661 (5th Cir. 1976) (“Evidence inadmissible at trial cannot be used to avoid

 summary judgment.”). “Neither legal conclusions nor statements made without personal

 knowledge are capable of being so presented.” D'Onofrio v. Vacation Publ'n, Inc., 888 F.3d 197,

 208 (5th Cir. 2018) (citing Fed. R. Evid. 602, 701, & 702). Plaintiff’s testimony about Williams’

 knowledge is patently inadmissible and should not be relied on at this stage.

                2. Plaintiff Never Reported Vincent’s Alleged Harassment to Paul Williams

        Both cases Plaintiff’s Opposition cites in support of his “constructive knowledge”

 argument are readily distinguishable from the present case. In Abbt, the supervisor at issue had

 authority to take remedial action against the offending employee. Abbt, 28 F. 4th at 610. Moreover,

 in Abbt, the supervisors at issue had actual knowledge of the harassment because they actively

 participated in it over a nine-year span. Id. That actual knowledge and active participation were

 the basis for imputing liability to the employing city. Id.

        Here, unlike in Abbt, Plaintiff, who is Black, does not allege Williams, who is also Black,

 harassed him on the basis of race or actively participated in the harassment. In Williamson, the

 court imputed a supervisor’s knowledge of verbal and physical sexual harassment toward the

 plaintiff by a coworker over an eighteen-month period because the plaintiff reported the

 harassment to her supervisor on at least 10-12 occasions and the supervisor most ignored those




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 complaints. Unlike in Williamson, Plaintiff in the instant action never reported any alleged

 harassment to Williams. (R. Doc. 23-3, pp. 45-46).

         Most importantly, here, Williams does not meet the Title VII definition of “supervisor” for

 “constructive knowledge” purposes because Williams did not have the authority to transfer, hire,

 or fire Plaintiff. See, e.g., Nash v. Electrospace Sys., Inc., 9 F.3d 401, 404 (5th Cir. 1993). Despite

 Plaintiff’s claims to the contrary in his Opposition, Defendants did not misstate Sidney “Boo”

 Murray’s position in this regard. Murray never testified that a foreman could act without HR’s

 review and approval. Rather, he initially testified that Defendants had several zero tolerance

 offenses for which a foreman could terminate an employee. (R. Doc. 25-2, pp. 42-43). Later,

 however, he clarified that all offenses, even zero tolerance offenses such as harassment, are

 reported to the superintendent and HR for investigation and the superintendent and HR make

 decisions regarding discipline. (R. Doc. 22-4, pp. 6-7). Murray never testified that foremen could

 act without HR’s review and approval. For these reasons and as further articulated in Defendants’

 Motion for Summary Judgment, Williams’ knowledge cannot be imputed on Defendants for

 purposes of Title VII liability.

                 3. Defendants Acted Promptly and Successfully Ended the Alleged Harassment

         Undisputedly, (1) the first time Plaintiff reported the alleged harassment by his coworker

 was when he reported it to Foreman Dever on July 18 or 19, 2016 (R. Doc. 22-2, ¶26), and HR on

 July 23, 2016 (R. Doc. 22-2, ¶32); and (2) as a result of Plaintiff’s complaint, Defendants issued

 Vincent a Final Written Warning and transferred him to a different crew. (R. Doc. 22-3, pp. 67,

 88). In similar cases, the Fifth Circuit that found such actions constitute “prompt remedial action”

 to relieve an employer from liability under Title VII. See Skidmore v. Precision Printing &

 Packaging, 188 F. 3d 606, 616 (5th Cir. 1999) (finding that the employer took “prompt remedial

 action” when a manager reprimanded the harassing coworker by moving him to a different shift

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 and instructing him to leave the plaintiff alone). By Plaintiff’s own admission, Defendants’

 prompt, remedial action, ended the harassment. (R. Doc. 22-3, p. 88). Defendants are therefore

 entitled to summary judgment on this issue.

 III.   Plaintiff Did Not Suffer a “Materially Adverse” Employment Action

        In his Opposition, Plaintiff set forth a list of alleged adverse employment actions

 perpetrated against Plaintiff by Williams a result of Plaintiff’s complaint about his coworker’s

 alleged racial harassment. (R. Doc. 25-2, p. 51). As more fully explained in Defendants’ Motion

 for Summary Judgment, even under the relaxed standard for retaliation claims these alleged actions

 do not rise to the level of “materially adverse” such that they would “have dissuaded a reasonable

 worker from making or supporting a charge of discrimination.” Lynch v. Fluor Fed. Petroleum

 Operations, LLC, 2022 WL 671754, at *11 (E. D. La. Mar. 7, 2022). Plaintiff claims Williams

 “assigned Plaintiff menial, belaboring tasks,” but only points to one instance to support that

 conclusory allegation. In that one instance, Williams instructed Plaintiff “to move an entire stack

 of rebar” (R. Doc. 25-2, pp. 44-45), which is not materially adverse because, as Plaintiff testified,

 moving rebar was part of all riggers’ job duties. (R. Doc. 22-3, pp. 69, 97). Being assigned to

 perform regular that are part of one’s job description is not a materially adverse employment

 action. See Peterson v. Linear Controls, Inc., 757 F. App’x. 370, 375-76 (5th Cir. 2019).

 IV.    Plaintiff’s Last-Ditch Effort at Proving an Adverse Action Through a Constructive
        Discharge Claim Cannot Save His Retaliation Claim from Summary Judgment

        Plaintiff, when faced with disposition of his vague and conclusory retaliation allegations,

 attempts to engineer an adverse employment action by arguing he was constructively discharged.

 In an effort to create a fact issue about whether it was reasonable for him to resign under the

 circumstances at issue, without any cite to record evidence, Plaintiff alleges in his Opposition that

 he sought medical treatment from the VA. (R. Doc. 28, p. 16). The constructive discharge standard,


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 however, is an objective, not subjective, one. See Ricks v. Friends of WWOZ, Inc., No. 18-9767,

 2019 WL 4671582, at *6 (E.D.La. Sept. 25, 2019). Plaintiff’s subjective belief his termination was

 inevitable is insufficient to defeat summary judgment on this issue. See Ricks at *9.

 V.      Conclusion

         For all the reasons explained herein and in Defendants’ original memorandum, Defendants

 pray for dismissal of this lawsuit in its entirety, with prejudice, and at Plaintiff’s sole cost.

                                                 Respectfully submitted,


                                                 /s/ Ellen C. Rains
                                                 Christopher E. Moore, La. Bar No. 1999
                                                 Hal D. Ungar, La. Bar No. 31344
                                                 Ellen C. Rains, La. Bar No. 36927
                                                 Ogletree, Deakins, Nash, Smoak & Stewart, P. C.
                                                 701 Poydras Street, Suite 3500
                                                 New Orleans, LA 70139
                                                 Telephone: (504) 648-3840
                                                 Facsimile: (504) 648-3859
                                                 Email: christopher.moore@ogletreedeakins. com
                                                         ellen.rains@ogletreedeakins. com
                                                         hal.ungar@ogletreedeakins. com

                                                 Attorneys for Defendants, CB&I LLC and
                                                 McDermott International, Ltd



                                   CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that the foregoing was filed via the Court’s

 CM/ECF system, which provides for service on all counsel of record.

         This 22nd day of April, 2022.

                                                  /s/ Ellen C. Rains
                                                  Ellen C. Rains




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